Case 2:OO-cv-02666-SH|\/| Document 24 Filed 07/21/05 Page 1 of 2 Page|D 56

BY l noon
IN THE UNITED STATES DISTRICT COURT FRED g

FOR THE WESTERN DISTRICT oF TENNESSEE goa
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DAVID W. BECKER, w@@;s¢&@¥£
Plaintiff,
vS. No. 00~2666-Ma

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

CORRECTED ORDER GRANTING MOTION FOR ATTORNEY FEES

 

On July 15, 2005, the court entered an order granting
attorney John Scott Lykins' June 29, 2005, unopposed motion for
attorney fees. The July 15, 2005, order is hereby corrected
to reflect that the motion was granted pursuant to 42 U.S.C. §
406(b), ppg 28 U.S.C. § 2412. Attorney fees are awarded to
plaintiff’s counsel, John Scott Lykins, in the amount of
515,798.00.

It is So oRDERED this °“m\day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT COURT

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:00-CV-02666 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

